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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION
                                          )
 ALTAMAHA RIVERKEEPER and ONE             )
 HUNDRED MILES                            )
                                          )
      Plaintiffs,                         )
                                          )
      v.                                  )
                                      Docket
                                          ) No. 4:18-cv-00251-RSB-JEG
 THE UNITED STATES ARMY CORPS OF          )
 ENGINEERS et al.,                        )
                                          )
      Defendants.                         )
                                          )
                                          )


                     MOTION FOR PRELIMINARY INJUNCTION AND
                        MEMORANDUM OF LAW IN SUPPORT

         This case challenges a permit issued by the U.S. Army Corps of Engineers (the Corps) to

Sea Island Acquisition LLC (d.b.a. Sea Island Company), allowing the company to construct a

350-foot long T-head groin1 on the Sea Island Spit and to dredge and pump between 1,315,000

and 2,500,000 cubic yards of sand from an offshore source. See generally U.S. Army Corps of

Eng’rs, Permit No. SAS-2015-00742 (Sept. 11, 2018) (attached as Ex. A). Opposition to the

proposed project is overwhelming. Federal and state agencies, members of the public, and state

legislators have spoken out against the proposed groin. Even the Corps’ own guidance manual

counsels that “[c]oastal zone management policy in many countries and the United States

presently discourages the use of groins for shore protection.” U.S. Army Corps of Eng’rs,

Coastal Engineering Manual (USACE Manual) at V-3-61, available at https://www.publications.

usace.army.mil/USACE-Publications/Engineer-Manuals/u43544q/636F617374616C20656


   1
       See page 3 for groin definition.
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E67696E656572696E67206D616E75616C/. For all of the reasons discussed below, allowing

construction of the groin to move forward will irreparably harm the Sea Island Spit, the wildlife

that lives there, and the people who use the area for recreation. The Court should grant a

preliminary injunction to stop this imminent and irreparable injury.

                      FACTUAL AND PROCEDURAL BACKGROUND

       Sea Island is a barrier island along the Georgia coast that is approximately four-and-a-

half miles long. The southern portion of the island is a fragile, undeveloped area called the Spit

that provides significant habitat for state and federally protected sea turtles, shorebirds, and other

species. The Spit, which is largely protected by a conservation easement, is also a popular

recreation area. Both residents and tourists frequently visit the public tidelands on the Spit to

paddle, surf, bird-watch, walk, and enjoy nature.

       Sea Island Acquisition, a private resort and real estate development company, desires to

build a new development called the Reserve on the north end of the Spit immediately north of

the conservation easement boundary. On October 9, 2015, Sea Island Acquisition filed an

application seeking permission to construct a T-head groin immediately south of the proposed

Reserve Development. See generally Sea Island Acquisition, Application (Oct. 9, 2015). The

application also sought authorization to construct dunes and renourish the beach between an

existing groin and the proposed groin. Id. According to Sea Island, the purpose of the proposed

groin is “to stabilize the eroding beach” in front of the Reserve development. Id. at 1. Currently,

however, there are no homes located in the proposed development, and no lots have been sold. In

other words, no existing structures are threatened by the beach erosion the proposed project

seeks to avoid. Instead, the intent of the project is to protect unbuilt land. See Letter from S.




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Envtl. Law Ctr. to Col. Marvin Griffin, U.S. Army Corps of Eng’rs (Jan. 15, 2016) (SELC 2016

Comments) at 3 (attached as Ex. B).

       As testament to the fragility of the building lots, Hurricanes Irma and Matthew have

eroded away nearly half of one of the lots, as well as the dunes in front of the lots. And Sea

Island Acquisition applied for an emergency permit to protect the lots when Hurricane Florence

was approaching.

                                      Background on Groins

       A groin is a hard structure, often constructed of rock, concrete, or steel, that is built

perpendicular to a beach. Its purpose, by definition, is to trap or block sand on the “updrift” side

of the groin that would otherwise naturally move with the prevailing currents along the shoreline

to the “downdrift” side of the groin, as showing in the Google Earth image below.




See Dr. Bret Webb, Written Direct Testimony for OSAH Hearing (Webb WDT) ¶ 16 (attached

as Ex. C); Dr. Robert Young, Written Direct Testimony for OSAH Hearing (Young WDT) ¶¶



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31-32 (attached as Ex. D). As this occurs, the beach downdrift of the groin retreats. Id. In a very

real sense, a groin starves the downdrift beach of sand by eliminating the updrift sand supply. Id.

       The negative impacts of groins are widely recognized. In addition to causing accelerated

downdrift erosion, groins also cause harm to wildlife, especially federally threatened sea turtles.

See Letter from Jon Ambrose, Ga. Dep’t of Nat. Res., Wildlife Res. Div., to Sheldon Leiker, Ga.

Dep’t of Nat. Res., Coastal Res. Div. (Nov. 24, 2015) (WRD Comments) at 4-6 (attached as Ex.

E); Letter from Donald Imm, U.S. Fish and Wildlife Serv., to Sheldon Leiker, Ga. Dep’t of Nat.

Res., Coastal Res. Div. (Nov. 24, 2015) (USFWS Comments) at 1-2 (attached as Ex. F). The T-

head portion of a groin can inhibit nesting females from reaching the beach or act as a barrier to

hatchlings as they attempt to migrate from the beach to the ocean. Id. Hatchlings can also

become physically trapped in the groin itself or be killed by predators that tend to congregate

near the structure. Id. In addition, because they cause accelerated erosion, groins can reduce

important habitat for sea turtles, shorebirds, and other wildlife downdrift of the groin and destroy

valuable recreation areas for the public. Id.

       Because of these negative effects, the Corps’ own Coastal Engineering Manual

recognizes that “[c]oastal zone management policy in many countries and the United States

presently discourages the use of groins for shore protection.” USACE Manual at V-3-61.

Instead, as discussed below, over the past decade coastal engineers have shown a near universal

preference for beach nourishment without a groin over similar projects with a groin or other

stabilization structure. See Young WDT at ¶ 27. In the southeast United States, for example, over

96% of nourishment projects over the past ten years have been completed without a groin. Id.




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                            Public and Agency Opposition to the Groin

       Because the proposed groin would harm the Spit, public opposition to the project has

been overwhelming. During the initial public comment period, the Corps received comments

from 197 separate individuals or organizations. See U.S. Army Corps of Eng’rs, Decision Paper

at 1 (Sept. 4, 2018); see also Letter from S. Envtl. Law Ctr. to U.S. Army Corps of Eng’rs (May

23, 2018) (SELC 2018 Comments) at 3 (attached as Ex. G). Of those 197 commenters, 194 (or

over 98%) opposed the project. Id. Of the nine commenters who live on Sea Island, seven

opposed the project. Id. In addition, nearly one hundred individuals and organizations, including

federal and state agencies, submitted comments to the Georgia Department of Natural Resources

opposing the project when Sea Island Acquisition applied for a state permit. Id. For example, the

Georgia Department of Natural Resources Wildlife Resources Division submitted written

comments to the state explaining that “[t]he construction of the T-head groin will result in the

loss of sea turtle nesting habitat and will interfere with the conservation of sea turtle populations

in Georgia.” WRD Comments at 6. Similarly, the U.S. Fish and Wildlife Service submitted

comments to the State opposing the construction of the groin, advising, “We recommend denial

of the permit. Construction of another groin will have negative impacts to sea turtles and have

possible adverse impacts to the Sea Island spit which is utilized habitat for federally listed

shorebirds and sea turtles.” USFWS Comments at 2. Others complained that the proposed project

would further erode the Spit, as well as St. Simons Island’s East Beach, and compromise their

recreational use of those areas.

                       Sea Island Acquisition’s Revised Permit Application

       Following the initial notice and comment period, two major hurricanes, Matthew and

Irma, caused substantial damage to Sea Island. Among other things, the storms severely eroded

the beach face and many of the frontal dunes on the Spit. See Letter from S. Envtl. Law Ctr. to
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U.S. Army Corps of Eng’rs (Feb. 28, 2017) (SELC 2017 Comments) at 21-22 (attached as Ex.

H); Dr. Bret Webb, Supplemental Report Regarding the Practicability of Constructing a

Successful Beach Nourishment Project on the Sea Island Spit (Webb Supplemental Report) at 9-

10 (attached as Ex. I); SELC 2018 Comments at 4. The storms also damaged the main reach of

the Sea Island beach in front of the developed area of the island, stripping much of the sand from

the beach between the existing groins. SELC 2018 Comments at 4. In light of these impacts, on

March 6, 2018, Sea Island Acquisition submitted an addendum to its 2015 permit application,

seeking authorization (1) to construct the new T-head groin on the Spit; (2) to dredge between

1,315,000 to 2,500,000 cubic yards of sand from an offshore source; and (3) to renourish over

17,000 linear feet of beach on Sea Island. See Addendum to Application (Mar. 6. 2018).

       Because the changes proposed in the March 2018 addendum were substantial, the Corps

issued a new public notice, and One Hundred Miles and Altamaha Riverkeeper (collectively, the

Conservation Groups) again submitted comments opposing the project. See generally SELC

2018 Comments. Among other things, the Conservation Groups noted that neither the October

2015 application nor the March 2018 addendum adequately considered the direct, indirect, or

cumulative impacts of the proposed project. In addition, neither the October 2015 application nor

the March 2018 addendum adequately considered less environmentally damaging practicable

alternatives. For example, Sea Island Acquisition summarily dismissed nourishment without a

groin as an alternative, even though this option has been chosen by coastal engineers in over

96% of similar projects in the Southeast over the last decade. Id.; see also Young WDT ¶ 27.

                  The Permit, the Biological Assessment, and NEPA Documents

       Because the March 2018 addendum increased the length of the project from 1,200 linear

feet to approximately 17,000 linear feet (a nearly fifteen-fold increase), increased the proposed



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sand volume from 120,000 yd3 to up to 2,500,000 yd3 (an over twenty-fold increase), proposed

retrieving sand from the ocean instead of an onshore source, and proposed the use of hydraulic

cutterhead dredges, Sea Island Acquisition also submitted a supplementary biological

assessment. See generally Supplementary Biological Assessment & Essential Fish Habitat

Assessment (Supp. Biological Assessment) (March 2018) at 1. The company had previously

submitted a biological assessment for the 1,200 foot project, but many of that assessment’s

determinations were based in part on the fact that “no offshore borrow areas are proposed” or on

the fact that “the project is of limited size.” See Biological Assessment of Threatened and

Endangered Species, The Reserve at Sea Island Shoreline Protection Project (Oct. 2015) at 1, 23-

24. Like the previous assessment, Sea Island Acquisition’s supplementary biological assessment

concluded that the proposed project “may affect” but was “not likely to adversely affect”

threatened and endangered species. Supp. Biological Assessment at 85.

       The U.S. Fish and Wildlife Service ultimately concurred with this determination. Letter

from U.S. Fish and Wildlife Serv. to Col. Marvin Griffin, U.S. Army Corps of Eng’rs (May 22,

2018) at 2 (attached as Ex. J). However, the agency noted that “[t]he new groin is anticipated to

result in decreased nesting and the loss of nests that do get laid within the project area for all

subsequent nesting seasons following the completion of the proposed project.” Id. The agency

also noted that “the sand project is anticipated to result in decreased nesting and loss of nests that

do get laid within the project area for two subsequent nesting seasons following the completion

of the proposed sand placement.” Id. Given that the supplemental application requested to

remove up to 2,500,000 yd3 of sand from the ocean floor with a hydraulic cutterhead dredge, the

U.S. Fish and Wildlife Service also directed the Corps to “refer to [the National Marine

Fisheries Service] for impacts in the water.” Id. at 2.



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       However, rather than consult with the National Marine Fisheries Service about the

supplemental application, the Corps instead concluded that further consultation was unnecessary.

See Army Corps of Eng’rs, Memorandum for Record (Sept. 6, 2018) (Environmental

Assessment) at 51 (attached as Ex. K) (“Since [the National Marine Fisheries Service’s

concurrence] the project was amended to include the renourishment of 17,000 LF of the Sea

Island shoreline with the sand being pumped (via a hyrdraulic cutterhead dredge) from an

offshore borrow site.”).2

       On September 11, 2018, the Corps issued a permit authorizing Sea Island Acquisition to

(1) construct the new T-head groin on the Spit; (2) dredge between 1,315,000 to 2,500,000 cubic

yards of sand from an offshore source; and (3) renourish more than 17,000 linear feet of beach

on Sea Island. See generally Permit No. SAS-2015-00742. At the same time, the Corps issued an

Environmental Assessment, finding that the authorized project would have no significant impact



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      In addition to the shortcomings identified in this brief, the Corps also violated the
Endangered Species Act by failing to consult with the National Marine Fisheries Service
following the applicant’s submission of an amended application. The Conservation Groups laid
out these claims in a Notice Letter to the Army Corps of Engineers, a copy of which is attached
as Exhibit S. Under § 7 of the Endangered Species Act, every federal agency must “insure that
any action authorized, funded, or carried out by such agency … is not likely to jeopardize the
continued existence of any endangered species or threatened species [(“listed species”)] or result
in the destruction or adverse modification of [critical] habitat of such species[.]” 16 U.S.C. §
1536(a)(2). For projects that may affect listed species, compliance with § 7 requires, at a
minimum that the Fish and Wildlife Service or the National Marine Fisheries Service provide
written concurrence to the action agency that the action will not adversely affect a threatened or
endangered species or its critical habitat. The Fish and Wildlife Service and the National Marine
Fisheries Service “are far more knowledgeable than other federal agencies about the precise
conditions that pose a threat to listed species, and … are in the best position to make
discretionary factual determinations about whether a proposed agency action will create a
problem for a listed species and what measures might be appropriate to protect the species.” City
of Tacoma, Washington v. F.E.R.C., 460 F.3d 53, 75 (D.C. Cir. 2006). Because the addendum to
the application increased the proposed sand volume over twenty fold and proposed offshore
dredging and pumping for the first time, the Corps’ failure to consult with the National Marine
Fisheries Service after Sea Island amended its application violates the Endangered Species Act.


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on the environment. Environmental Assessment at 86. As discussed below, the Permit and the

Environmental Assessment violate the Clean Water Act, the National Environmental Policy Act,

and the Administrative Procedure Act. The Court should therefore grant a preliminary injunction

to prevent imminent and irreparable injuries to the Conservation Groups and their members from

Sea Island Acquisition’s proposed project.

                                     STANDARD OF REVIEW

        To succeed on a motion for preliminary injunction, a plaintiff must show that it is likely

to succeed on the merits, that it is likely to suffer irreparable injury absent preliminary relief, that

the balance of equities tips in its favor, and that an injunction is in the public interest. U.S. v.

Jenkins, 714 F. Supp. 2d 1213, 1220 (S.D. Ga. 2008).

                      ARGUMENT AND CITATION OF AUTHORITIES

I.      The Conservation Groups are likely to succeed on the merits.

        A.      The Corps violated the Clean Water Act by issuing the permit when there is
                a less environmentally damaging practicable alternative.

        Under 40 C.F.R. §§ 230.10(a) and 230.12(a)(3)(i), the Corps may not issue a Section 404

permit if there is a less environmentally damaging practicable alternative to the project. Here, the

Corps did not adequately consider less environmentally damaging practicable alternatives before

granting the permit. Take, for example, beach nourishment without a groin. The record shows

that two experts, Dr. Bret Webb and Dr. Robert Young, testified on multiple occasions that

beach nourishment without a groin is a practicable alternative to beach nourishment with a groin.

See Webb WDT at ¶ 95; Young WDT at ¶ 45. In his testimony, Dr. Webb explained that the

nourishment project proposed by Sea Island, with dunes, could be constructed as planned in the




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1,200-foot project area and then extended south down the Spit without dunes (where dunes are

not needed to protect any structures).3

       According to Dr. Webb, extending beach nourishment down the Spit would require

approximately 350,000 to 500,000 cubic yards of sand. Webb WDT ¶ 95. To calculate this

number, Dr. Webb estimated the length of the shoreline from the existing south groin to Gould’s

Inlet and applied a beach fill density of 100 cubic yards per running foot, which accounts for the

fact that the renourished shoreline could be tapered as it reached Gould’s Inlet. Tr. of OSAH

Hearing, One Hundred Miles, et al. v. Shore Protection Committee, OSAH-BNR-SP-1630908-

60-Miller (May 9-12, 2016) (OSAH Tr.) at 115: 1-17 (excerpts attached as Ex. L). Dr. Webb

explained that this number (100 cubic yards per running foot) is common in modern nourishment

projects in the United States. Id. at 116:22-117:5.

       The idea of beach nourishment without a groin is not novel by any stretch. For example,

the Program for the Study of Developed Shorelines (PSDS), a joint research and policy center at

Duke University and Western Carolina University, maintains a national database called the

Beach Nourishment Database that catalogs every beach and dune construction project in the

country. Young WDT ¶ 7. It is by far the most comprehensive catalog of beach and dune

restoration projects available. Id. As part of this work, Dr. Young, the director of the PSDS, is

funded by the United States Geological Survey to map, in detail, every beach nourishment

project on the United States East Coast. Id. ¶ 8. Through Dr. Young’s database, the PSDS has

been tracking beach nourishment activities on Sea Island and across the country for more than



   3
     Beach nourishment projects without groins or other stabilization devices typically last
longer (or have a greater “half-life”) if the projects cover a longer stretch of beach. For these
reasons, Dr. Webb and Dr. Young recommended that the beach nourishment project be extended
down the Spit, without dunes, to have a practicable half-life. The experts agree that a 1,200 foot
nourishment project would not be practicable because it would have a relatively short half-life.
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twenty years. Id. The beach nourishment projects mapped by Dr. Young have been implemented

in areas with a wide variety of coastal features including barrier islands with longshore transport

rates and inlet settings similar to those of Sea Island. Id. ¶ 22.

        Based on his experience with the Beach Nourishment Database, Dr. Young concluded

that beach nourishment without a groin is, by far, the most common configuration for beach

nourishment projects in the United States. In the southeast, for example, there have been 139

beach nourishment projects in the past ten years, as of 2016. Young WDT ¶ 27. Of those 139

projects, only five involved a groin.4 Id.; see also Webb WDT ¶ 95 (noting that almost every

beach nourishment and/or renourishment project in Florida over the past twenty years has been

done without a groin). Put differently, coastal engineers have found less damaging practicable

alternatives that allowed them to nourish the beach without building a groin in over 96 percent of

similar projects conducted in this region over the past ten years. Further from home, after

Hurricane Sandy devastated the New Jersey coast, the Army Corps of Engineers implemented 22

beach nourishment projects, covering almost the full length of the state. Young WDT ¶ 26.

According to Dr. Young, not one of them involved the construction of a groin or other artificial

shoreline stabilization device.5 Id. ¶ 26.

        Unbelievably, the Corps summarily dismissed the nourishment-without-a-groin

alternative without any analysis because it found the alternative was “outside the scope of the


    4
      Of those five, three were built at the very end of the island—unlike Sea Island’s proposed
groin. Young WDT ¶ 27. The other two projects with groins were special circumstances not
related to cost. Young WDT ¶ 27. There are no such special circumstances with respect to Sea
Island’s proposed project. Young WDT ¶ 27.
    5
      Some portions of the New Jersey shore do have small, existing groins built many decades
ago. Those groins are not even considered in the Corps’ project design, and where possible, the
Corps has been altering the groins to allow sand passage down the shore, effectively trying to
rehabilitate the sand sharing system. Young WDT ¶ 26.

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project and would not meet the overall project purpose.” Environmental Assessment at 40.

However, the law requires that an alternative chosen in over 96% of similar projects in the region

and recommended under oath by two experts be given at least some meaningful discussion in an

86-page NEPA analysis. The regulations are clear: “An alternative is practicable if it is available

and capable of being done after taking into consideration cost, existing technology, and logistics

in light of overall project purposes.” 40 C.F.R. 230.10(ii)(2). In the Environmental Assessment,

the Corps did not dismiss this alternative as impractical or incapable of being done, nor did it

indicate that nourishment without a groin would not work if the nourishment project was

extended to the southern tip of the Spit. In addition, the Corps did not dismiss this alternative as

too costly or impractical in terms of technology or logistics.6 Put simply, the Corps violated its

own regulations by failing to adequately consider a less environmentally damaging practicable

alternative before issuing the permit.

       B.      The Corps violated NEPA by failing to prepare an Environmental Impact
               Statement.

       Under NEPA, “[i]f any ‘significant’ environmental impacts might result from the

proposed agency action then an EIS must be prepared before agency action is taken.” Sierra

   6
      Although the Corps may attempt to point to other rationales in its response brief, the law is
clear that the agency may not identify bases for rejecting alternatives in litigation after the fact.
As one court put it, “Of great importance to a reviewing court is the distinction to be made
between the environmental impact statement and the remainder of the administrative record.…
Any substantial information pertinent to … the analysis of alternatives found in the
administrative record, but not in the environmental impact statement, would render the impact
statement inadequate under NEPA.” Nat'l Wildlife Fed'n v. Marsh, 568 F. Supp. 985, 996-97
(D.D.C. 1983); see also Blue Mountains Biodiversity Project v. Blackwood, 161 F.3d 1208, 1214
(9th Cir. 1998) (“We do not find adequate support for the [agency]’s decision in its argument
that the 3,000 page administrative record contains supporting data. The EA contains virtually no
references to any material in support of or in opposition to its conclusions. That is where the
[agency]’s defense of its position must be found.”); League of Wilderness Defs. v. Forsgren, 184
F. Supp. 2d 1058, 1069 (D. Or. 2002) (criticizing the agency for “again go[ing] outside of the EA
to a [report] in the Administrative Record in attempting to assure the court that ‘cumulative
impacts’ were considered”).
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Club v. Peterson, 717 F.2d 1409, 1415 (D.C. Cir. 1983) (emphasis in original). Whether an

impact is “significant” depends on a number of factors including (1) whether the project has

“impacts that may be both beneficial and adverse;” (2) “[t]he degree to which the action may

adversely affect an endangered or threatened species;” (3) “[u]nique characteristics of the

geographic area such as proximity to … ecologically critical areas;” and (4) whether the project

“is related to other actions with individually insignificant but cumulatively significant impacts.”

40 C.F.R. § 1508.27(b).7 Any “one of these factors may be sufficient to require preparation of an

EIS in appropriate circumstances.” Ocean Advocates v. U.S. Army Corps of Eng’rs, 402 F.3d

846, 865 (9th Cir. 2005); see also Fund for Animals v. Norton, 281 F. Supp. 2d 209, 235 (D.D.C.

2003).

         Based on these factors, other groin and beach nourishment permits in the Southeast have

triggered the need for an EIS; this one should too. See, e.g., U.S. Army Corps of Eng’rs, Public

Notice re: Bald Head Island Groin (Aug. 1, 2014), available at https://www.saw.usace.army.mil/

Portals/59/docs/regulatory/publicnotices/2014/SAW-2012-00040-PN.pdf;8 U.S. Army Corps of

Eng’rs, Public Notice re: Figure 8 Island Groin (June 29, 2016), available at http://saw-

reg.usace.army.mil/Proj/F8-TG/SAW-2006-41158-PN.pdf); U.S. Army Corps of Eng’rs, Draft

EIS re: Holden Beach Groin (Jan. 2015), available at http://www.saw.usace.army.mil/Portals/59/

docs/regulatory/regdocs/Projects/OIB/DEIS/2015-01-23_DEIS_Main_Body.pdf (permit

   7
      To implement the requirements of NEPA, the federal Council on Environmental Quality
(CEQ) has promulgated regulations applicable to all federal agencies. See 40 C.F.R. §§ 1500-
1508. The Corps has promulgated its own set of NEPA guidelines and complies with the CEQ
regulations except where those regulations are inconsistent with the statutory requirements of the
Commission. 33 C.F.R. § 230.1.
    8
      The Court may take judicial notice of information published on a federal agency’s website.
Rahman v. Schriro, 22 F. Supp. 3d 305, 311 (S.D.N.Y. 2014) (taking judicial notice of fact sheet
published on EPA’s website); see also Stanifer v. Corin USA Ltd., Inc., No. 6:14-CV-1192-ORL,
2014 WL 5823319, at *3 (M.D. Fla. Nov. 10, 2014) (noting that courts regularly take judicial
notice of public records available on federal agency’s website).
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application withdrawn on April 19, 2018); U.S. Army Corps of Eng’rs, Public Notice re: Ocean

Isle Groin (Mar. 7, 2017), available at http://saw-reg.usace.army.mil/Proj/OIB/SAW-2011-

01241-PN-ROD.pdf.

               i.      The proposed project will have adverse impacts.

       First, the Corps should have prepared an EIS because the project will have significant

adverse impacts to the sand-sharing system, 9 surrounding beaches, and wildlife.

                       a.     The project will cause increased downdrift erosion.

       As discussed above, the record shows that groins cause accelerated erosion and serious

disruption of the sand-sharing system. In addition to expert testimony and the Corps’ own

manual, the record shows that no fewer than twenty-two peer-review journal publications

describe, or at least reference, the negative impacts of improperly designed groins. SELC 2016

Comments at 6-7 (citing journal publications). And forty-three of the leading coastal scientists in

this country have signed on to a letter that agrees. See Rob Young, et al., Coastal Scientist

Statement on Groin Impacts at 1 (attached as Ex. M). As the coastal scientists put it, “There is no

debate.” Id.; see also Young WDT ¶ 35.

       In addition to widespread scientific consensus on the adverse impacts of groins generally,

the documented impacts of Sea Island’s existing groins show that the proposed project will cause

significant adverse impacts to the Spit. At the Office of State Administrative Hearings (OSAH)

hearing for the state permit, the Conservation Groups presented expert testimony by Dr. Chester

Jackson and Dr. Bret Webb regarding historical shoreline change on Sea Island before and after

the current groins were installed. See Webb WDT; OSAH Tr. at 834:6-935:17. That testimony



   9
     The coastline continuously changes due to winds, currents, and wave action. The sand-
sharing system is an interdependent sand and sediment system that includes sand dunes, beaches,
and offshore bars and shoals. See O.C.G.A. § 12-5-232.
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included an analysis of the existing south groin to determine what impact, if any, that groin has

had on the Sea Island shoreline. Id. As recognized by the state administrative law judge, Dr.

Jackson and Dr. Webb’s testimony at the hearing convincingly demonstrated that the existing

south groin on Sea Island has caused an increased rate of shoreline retreat downdrift of the groin

since it was installed. See Final Decision, One Hundred Miles, et al. v. Shore Protection

Committee, OSAH-BNR-SP-1630908-60-Miller, at 15, 18.

       The Corps concluded the same in its Environmental Assessment. According to the Corps’

analysis, “the construction of the existing groins,” among other things, “ha[s] contributed to the

Island’s current sand deficit and shoreline erosion, including at the Spit.” Environmental

Assessment at 16. As the agency put it, “[T]he existing T-head groins are currently trapping

some of the material (sand, silt, clay, etc.) that is naturally coming from the north, and moving

south. The southern end of the spit is currently eroding and will continue to erode as long as the

existing groin system remains in place.” Id. at 70.

                       b.     The project could cause the Spit to break apart.

       The location of the proposed groin makes it particularly problematic. As Dr. Webb

described in his written direct testimony, the erosion caused by the proposed groin would likely

occur at a particularly vulnerable area of the Spit near an old borrow pit. See Webb WDT ¶¶ 70-

80. That area has a narrow width and low volume density, and the walls of the borrow pit have

already been breached by incoming waves on high tides. Id. The frontal dunes have eroded to the

point where waves are overwashing sediment from the beach face into a low area behind the

frontal dune system. Id. Thus, based on Dr. Webb’s analysis, constructing a groin in the proposed

location may cause the Spit to break apart, causing irreversible damage to the Spit and downdrift

shorelines, including St. Simon’s Island. Id.



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                       c.     The project will harm wildlife.

       The proposed project will also harm federally protected sea turtles and shorebirds, as

discussed below in detail in Section I.B.ii. The National Marine Fisheries Service (NMFS), a

division of the National Oceanic and Atmospheric Administration (NOAA), also expressed

concern that the proposed project could harm essential fish habitat. In an April 2018 letter, the

National Marine Fisheries Service advised the Corps that it had “multiple concerns with the

proposed project, particularly with regard to impacts from the proposed shoreline armoring [the

proposed groin].” Letter from Virginia M. Fay, Nat’l Marine Fisheries Serv., to Col. Marvin

Griffin, U.S. Army Corps of Eng’rs (Apr. 20, 2018) (attached as Ex. N).

       Among other things, the National Marine Fisheries Service expressed concerns that “the

close spacing of the proposed groin with the existing groin may create a trap for pelagic eggs and

larvae of managed species and their prey.” Id. As a result, the agency recommended denial of

Sea Island Acquisition’s request to build a T-head groin. Id. Three months later, the Corps

responded to the National Marine Fisheries Service’s letter, but ignored the Service’s concern

that the proposed groin could trap “pelagic eggs and larvae of managed species and their prey.”

See Letter from Kimberly L. Garvey, U.S. Army Corps of Eng’rs, to Cynthia Cooksey, Nat’l

Marine Fisheries Serv. (Jul 17, 2018) (attached as Ex. O); Letter from Virginia M. Fay, Nat’l

Marine Fisheries Serv., to Col. Daniel Hibner, Army Corps of Eng’rs at 1 (July 27, 2018)

(attached as Ex. P). As a result, as recently as July 2018, the National Marine Fisheries Service

again recommended denial of Sea Island Acquisition’s request to build a groin. Letter from

Virginia M. Fay, Nat’l Marine Fisheries Serv., to Col. Daniel Hibner, Army Corps of Eng’rs at 1

(July 27, 2018). The Corps’ failure to even mention this issue—raised by biologists at another




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federal agency as a basis for partially denying the permit—shows that the Corps failed to take a

hard look at the impacts of the proposed action as required by NEPA.

               ii.     The proposed project will harm endangered and threatened species.

       Second, the Corps should have prepared an EIS because the proposed groin will harm

endangered and threatened sea turtles and shorebirds. Under the Endangered Species Act, the

Corps must consult with the National Marine Fisheries Service, the Fish & Wildlife Service, or

both, to insure that the proposed project is “not likely to jeopardize the continued existence of

any endangered species or threatened species” or destroy or adversely modify any critical habitat

of those species. 16 U.S.C.A. § 1636 (a)(2). Importantly, a “no jeopardy” determination by the

U.S. Fish and Wildlife Service or the National Marine Fisheries Service under the Endangered

Species Act does not mean that there is no potential impact that triggers the need for an EIS

under NEPA. See Sierra Club v. Norton, 207 F. Supp. 2d 1310, 1322 (S.D. Ala. 2002) (“An

environmentally significant action need not involve a threat of extinction to a federally-protected

species. Lesser impacts, including impacts on non-listed species, can constitute a significant

effect.”); Makua v. Rumsfeld, 163 F. Supp. 2d 1202, 1218 (D. Haw. 2001) (“Clearly, there can be

a significant impact on a species even if its existence is not jeopardized.”).

       Here, the proposed project area includes nesting habitat used by three species of federally

protected sea turtles: the Loggerhead Sea Turtle, the Green Sea Turtle, and the Leatherback Sea

Turtle. According to the Georgia Department of Natural Resources and the U.S. Fish and

Wildlife Service, the proposed groin would adversely impact sea turtles by (1) inhibiting nesting

females from reaching the beach, (2) functioning as a barrier to hatchling migration to the ocean,

(3) entrapping hatchlings within the structure, (4) concentrating predators in the vicinity of the




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groin resulting in increased hatchling mortality; and (5) reducing downdrift nesting habitat. See

WRD Comments at 4-6; USFWS Comments at 1-2.

       Although Sea Island Acquisition has repeatedly claimed the proposed groin would not

adversely impact sea turtles, its arguments are wholly unsupported and have been thoroughly

rejected by both state and federal agencies. For example, in its comments to the Georgia Coastal

Resources Division, the Georgia Department of Natural Resources Wildlife Resources Division

rejected Sea Island Acquisition’s claim that the proposed groin would not result in accelerated

downdrift erosion and habitat loss, explaining that “[t]he analysis provided by [Sea Island

Acquisition] uses data from the early 1980’s and does not use the best available technology and

analysis for assessing coastal erosion rates.” WRD Comments at 3. The U.S. Fish and Wildlife

Service was likewise unconvinced by Sea Island Acquisition’s claim that the proposed groin

would not result in downdrift erosion and habitat loss, noting, “There is little data or analysis to

support this.” USFWS Comments at 2. More recently, U.S. Fish and Wildlife Service cautioned

that “[t]he new groin is anticipated to result in decreased nesting and the loss of nests that do get

laid within the project area for all subsequent nesting seasons following the completion of the

proposed project.” Id. The Service also noted that “the sand project is anticipated to result in

decreased nesting and loss of nests that do get laid within the project area for two subsequent

nesting seasons following the completion of the proposed sand placement.” Letter from U.S. Fish

and Wildlife Serv. to Col. Marvin Griffin, U.S. Army Corps of Eng’rs (May 22, 2018) at 2.

       In addition to the Georgia Wildlife Resources Division and U.S. Fish and Wildlife

Service, two expert witnesses, Dr. Kirt Rusenko and Mark Dodd, offered testimony regarding the

impacts to sea turtles at the state administrative hearing. Mr. Dodd has been employed by the

Georgia Department of Natural Resources for over seventeen years as a Senior Wildlife



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Biologist and the State of Georgia’s Sea Turtle Program Coordinator. SELC 2017 Comments at

14. His duties include establishing protocols for sea turtle conservation in Georgia and reviewing

and commenting on permit applications for projects that might impact sea turtles. See OSAH Tr.

at 224:25-225:12; 226:3-12; 227: 20-24; 229:5-13. Mr. Dodd helped author the Recovery Plan

for the Northwest Atlantic Population of the Loggerhead Sea Turtles in partnership with the

National Marine Fisheries Service and the U.S. Fish and Wildlife Service. Id. at 232:2-11.

       Dr. Rusenko has worked for 20 years as the Marine Conservationist for the City of Boca

Raton, Florida’s Gumbo Limbo Center where he manages the Boca Raton Sea Turtle

Conservation and Research Program. Dr. Rusenko supervises nine sea turtle specialists and

reviews and reports on all beachfront construction permits and monitors all beach renourishment

projects for the city. Dr. Kirt Rusenko, Written Direct Testimony for OSAH Hearing (Rusenko

WDT) ¶¶ 1, 5-7 (attached as Ex. Q). Both Mr. Dodd and Dr. Rusenko testified unequivocally

that the proposed T-head groin would have unreasonable impacts on federally protected sea

turtles. See OSAH Transcript at 256:21-257:5; Rusenko WDT at ¶ 36.

       In addition to harming federally protected sea turtles, the record shows that a groin could

harm shorebird habitat on the Spit. The Spit contains designated critical wintering habitat for the

federally threatened Piping Plover and is heavily used by the federally protected Red Knot, as

well as two state species of concern, the American Oystercatcher and Least Tern. According to

the Georgia Department of Natural Resources, “[a]ll of these species require the natural sand-

sharing system to build up appropriate nesting, roosting, and foraging habitat.” WRD Comments

at 8. As the state agency has noted, “[s]horeline engineering projects (including groins),

particularly near inlets are listed as one of the major threats to shorebird conservation in

shorebird conservation plans . . . because they disrupt the natural sand sharing system.” Id.



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       At the very minimum, this evidence indicates that the proposed project might negatively

impact wildlife protected under both federal and state law, and that the Corps should have

prepared an EIS to fully study these and other environmental impacts.

               iii.    The geographic area is unique.

       Third, the Corps should have prepared an EIS because the geographic area is unique—as

Sea Island Acquisition CEO Scott Steilen put it, “so unique” that it is unparalleled on the

Georgia coast. OSAH Tr. 789:11, 17. According to the U.S. Fish and Wildlife Service, the

project area provides habitat to over ten threated and endangered species. And as Sea Island

Acquisition itself acknowledged, the Spit “is an excellent example of coastal barrier island

habitat, with significant wildlife and plant habitat, including areas of high biological diversity

and rare and threatened plants and wildlife.” See Deed of Conservation Easement between St.

Simon’s Land Trust and Sea Island Acquisition, LLC at 2. The company also acknowledged that

the Spit is “of great importance” to the public. Id.

               iv.     The action is related to other actions with cumulatively significant
                       impacts.

       Fourth, the Corps should have prepared an EIS because the project is related to other

actions with cumulatively significant impacts. This factor is discussed in detail in Section I.C.

       C.      The Corps violated the Clean Water Act and NEPA by failing to adequately
               evaluate the cumulative impacts of the authorized project.

       Under the Clean Water Act and NEPA, the Corps is obligated to evaluate cumulative

effects of the project before granting a Permit. This means that the Corps must consider the

impacts of the authorized action “when added to other past, present, and reasonably foreseeable

future actions.” See 40 C.F.R. § 1508.7; see also 40 C.F.R. § 230.11(g) (Clean Water Act

regulations); 40 C.F.R. § 1508.8 (NEPA regulations). The Corps’ cumulative impacts analysis



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here is defective for a number of reasons. Among other things, the Corps should have considered

the impacts of other existing and reasonably anticipated shoreline stabilization or nourishment

projects in the coastal region. The Corps’ cumulative impacts analysis looks at the direct impact

zone of the proposed project; however, “[w]hen analyzing the contribution of [the] proposed

action to cumulative effects…the geographic boundaries of the analysis almost always should be

expanded.” Council on Envtl. Quality, Exec. Office of the President, Considering Cumulative

Effects under the National Environmental Policy Act (Jan. 1997) at 12, available at

https://ceq.doe.gov/docs/ceq-publications/ccenepa/sec2.pdf. So, for example, when conducting a

cumulative effects analysis for coastal zone resources, the CEQ recommends analysis of the

entire coastal region or watershed. Id. at 15. For resident wildlife resources, the CEQ

recommends consideration of the entire species habitat or ecosystem. Id.

       This concept is not far-fetched or novel. For example, in an EIS for the Bald Head

Terminal Groin project, the Corps considered 141 miles of shoreline for its cumulative impacts

analysis, including all beachfront and nearshore coastal areas of Onslow Bay and Long Bay. See

Bald Head Island Final Environmental Impact Statement, Appendix W at 3, available at

https://www.saw.usace.army.mil/Portals/59/docs/regulatory/regdocs/Projects/BHI/

BHI_FEIS/Appendices/Appendices/AppendixW_VBHICEAJuly2014_072014.pdf. Likewise, in

an EIS for the Figure 8 Island Groin Project, the Corps considered the entire coastline of North

Carolina (approximately 301 miles), including all inlets. See Figure 8 Terminal Groin Final

Environmental Impact Statement, Appendix F at 5, available at http://saw-reg.usace.army.mil/

Proj/F8-TG/F8_FEIS_Appendice_C_through_I.pdf. And in an EIS for the Holden Beach groin

project, the Corps considered cumulative effects “on a regional scale along the entire southern




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NC coast between Cape Lookout and the NC/SC border.” See Holden Isle Groin, § 5.1.2,

available at http://saw-reg.usace.army.mil/PN2017/Holden_Beach_FEIS_Sections_1_7.pdf.

       Here, the Corps is well aware of other existing and proposed renourishment projects in

the Golden Isles region. For example, shortly before issuing the permit for the Sea Island project,

the Corps issued a press release about a $13 million federally funded renourishment project on

Tybee Island. See http://www.sas.usace.army.mil/Media/News-Releases/Article/1579700/

savannah-harbor-tybee-island-beach-others-to-receive-additional-funds/). And the State of

Georgia designated another $10 million for beach nourishment projects on Georgia’s coast in the

amended fiscal year 2018 budget. See https://gov.georgia.gov/press-releases/2018-01-11/deal-

budget-prioritizes-workforce-development-education-transportation. The Corps should have

extended the geographic scope of its cumulative impacts analysis under the Clean Water Act and

NEPA to include these and other regional projects.

       D.      The Corps violated the Clean Water Act and the APA by issuing a permit
               without considering that it would exclude the public from public beach.

       The Corps failed to consider that the groin would effectively privatize the beach in front

of the Reserve. The Corps must evaluate the impacts of a proposed project on public property

and when the project would “create undue interference with access to, or use of, navigable

waters,” the Corps should in most cases deny the permit. 33 CFR § 320.4(g)(3); see United

States v. Harrell, 926 F.2d 1036, 1041 (11th Cir. 1991) (“The navigable waters of the United

States are public property.”). Unlike the rest of Sea Island, the beach from the mean high water

mark seaward is a “navigable water” and therefore open to the public. 33 C.F.R. §§ 329.12(a)(2),

328.4; Environmental Assessment at 22 (“Kayakers routinely paddle down Postell Creek or

Black Bank River, land at the Spit, and walk along the Sea Island beach.”).




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        Yet the proposed groin would exclude the public from 1,200 feet of their beach, much

like the public has already been cut off from the several-mile-long beach that runs the length of

the developed portion of Sea Island. For all but the most athletic individuals, it is nearly

impossible to scale the existing groin’s massive concrete blocks. The proposed groin would be

six feet tall. Even if one could reach the top of either groin, they would be trespassing the

moment they began their ascent because Sea Island Acquisition owns any portion of the groin

that is above the mean high water mark. And since the groin will be 350 feet in length, it will be

nearly impossible to swim around. See Reserve at Sea Island, Beach Renourishment & Groin

Plan, Sheets 2-3 (Sept. 10, 2015) (incorporated into Permit at Condition 1(b)(9)n); cf. U.S. v. St.

Thomas Beach Resorts, Inc., 386 F. Supp. 769, 771-72 (D.V.I. 1974), aff'd, 529 F.2d 513 (3d

Cir. 1975) (holding that a private fence extending into the water clearly interfered with a public

right to use the shore).

        Multiple commenters raised this issue prior to permitting. E.g. Comments of Monica

Smith (excerpts attached as Ex. R) (“[I]t would be nice to have the USACE affirm that the beach

is public and properly accessible to the public at all times.”); Comments of Leslie Graitcer

(excerpts attached as Ex. R) (“…the beach in front of these homes will not be open to use of any

other Georgia residents.”); Comments of Jane Johnson (excerpts attached as Ex. R) (questioning

the right of the Corps “[t]o authorize construction of a private groin intended to create a private

beach for a proposed development of eight (8) residences for high-wealth individuals…”).

        The Corps fails to acknowledge that the public has an interest that will be affected, see

Environmental Assessment at 67, despite the common-sense fact that a groin is essentially a

slippery rock wall that the public will be forced to scramble over to walk along the beach in front

of the Reserve or further down the main Sea Island beach. The groin will have the functional



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effect of privatizing an additional 1,200 linear feet of beach, unduly interfering with public

access and use, and the Corps must consider the cumulative ramifications on the public interest

before it issues a permit. 33 C.F.R. § 320.4(g)(3); see Summersgill Dardar v. LaFourche Realty

Co., No. CIV.A. 85-1015, 1986 WL 12201, at *2 (E.D. La. Oct. 29, 1986) (remanding permit to

the Corps for failure to adequately consider impacts on navigable waters).

II.    The Conservation Groups will suffer irreparable injury absent preliminary relief.

       Altamaha Riverkeeper and One Hundred Miles will suffer an irreparable injury absent

preliminary relief. The permit allows Sea Island Acquisition to begin construction of the T-head

groin on November 1, 2018, following the conclusion of sea turtle nesting season.10 The

Conservation Groups understand that Sea Island Acquisition has already begun pre-construction

activities, indicating its intent to build the T-head groin soon. In other words, the harm to the Sea

Island Spit and the wildlife that live there is imminent and irreparable. As described above, the

proposed project will harm the sand-sharing system, trigger accelerated erosion, and may cause

the Spit to break apart—none of which could be compensated for with money damages. The

proposed project is also likely to harm federally threatened and endangered wildlife, as well as

essential fish habitat and other non-listed wildlife—again, none of which could be compensated

for with money damages.

       Case law supports the issuance of a preliminary injunction when these types of damages

are at stake. As the Supreme Court has acknowledged, “[e]nvironmental injury, by its nature, can


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  The Southern Environmental Law Center (SELC) submitted a Freedom of Information Act
request on August 31, 2018, but was unable to receive a copy of the Permit until September 28,
2018. Other documents referenced throughout the Permit and repeatedly relied upon by the
Corps in reaching its decision were not provided to SELC until October 30, 2018, despite
repeated efforts to obtain the documents sooner. SELC filed this action and the accompanying
preliminary injunction the following day.

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seldom be adequately remedied by money damages and is often permanent or at least of long

duration, i.e., irreparable. If such injury is sufficiently likely, therefore, the balance of harms will

usually favor the issuance of an injunction to protect the environment.” Amoco Production Co. v.

Village of Gambell, 480 U.S. 531, 545 (1987); see also U.S. v. Jenkins, 714 F. Supp. 2d at 1221-

22 (noting that “a court may more readily find that an environmental injury is ‘irreparable’”).

III.    The balance of equities tips in favor of the Conservation Groups.

        The balance of equities tips in favor of a preliminary injunction. On one hand, the threats

caused by the groin are substantial and irreparable. On the other hand, Scott Steilen, CEO of Sea

Island Acquisition, testified under oath that the company does not need the project in order to

sell the lots. OSAH Transcript, 811:12-10. And, as courts in this Circuit have noted, “[i]t would

do the intervenors little good if they were allowed to continue construction on permits later

found to be invalid.” Sierra Club v. Norton, 207 F. Supp. 2d 1310, 1341 (S.D. Ala. 2002).

IV.     An injunction is in the public interest.

        As discussed above, public opposition to the proposed groin is overwhelming. During the

federal public comment period, over 98% of public commenters opposed the project. Even state

legislators have weighed in. Representative Alex Atwood asked the State Shore Protection

Committee for a reconsideration hearing “after hearing the concerns of several constituents [he]

represent[s].” Representative Steve Jones did the same.

        This should come as no surprise. The proposed Reserve development is located on

private property within a gated community. No existing homes or structures are currently

threatened by beach erosion downdrift of the proposed groin. Instead, Sea Island Acquisition

desires to construct the groin to protect just eight undeveloped lots—and very exclusive, private

lots at that. On the other hand, the construction of the proposed groin would come at a steep price



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to the public—jeopardizing the integrity of the Spit, harming federally protected wildlife, and

disrupting the public’s right to use tidelands on the Spit for their recreation and enjoyment. Put

simply, building a groin that will substantially harm the public interest for the sake of eight

unbuilt lots is entirely contrary to the public interest.

                                           CONCLUSION

        For all of the discussed above, the Court should grant a preliminary injunction to stop this

imminent and irreparable injury.

        Respectfully submitted this 31st day of October, 2018.

                                                            SOUTHERN ENVIRONMENTAL
                                                            LAW CENTER

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                                  CERTIFICATE OF SERVICE

       I certify that on October 31st, 2018, I electronically filed the foregoing Motion for
Preliminary Injunction and Memorandum of Law in Support with the Clerk of Court using the
CM/ECF system. I also served the foregoing motion by certified mail with the Complaint and
Summons pursuant to the procedure for serving federal agencies set forth in FRCP 4(i).

                                                    /s/ William W. Sapp

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